Case 9:19-cr-80056-RKA Document 76 Entered on FLSD Docket 10/23/2019 Page 1 of 3



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 19-80056-CR-ALTMAN

  UNITED STATES OF AMERICA,

  v.

  YUJING ZHANG,

        Defendant.
  ______________________________/

                                 UNITED STATES= OBJECTIONS
                                TO THE PRESENTENCE REPORT

         The United States of America, by and through the undersigned Assistant United States

  Attorney, hereby files this objection to the Presentence Investigation Report (PSR). The

  government agrees that the PSR correctly determined that the offenses of conviction should be

  grouped. However, the government’s position is that the counts of conviction should be grouped

  under USSG § 3D1.2(c), instead of USSG § 3D1.2(b).

         Offense Level Computation

         The PSR grouped Count One (18 USC § 1752(a)(1)) and Count Two (18 USC §

  1001(a)(2)) for guideline calculation purposes under USSG § 3D1.2(b) based on the position that

  they involved the same victim and two or more acts or transactions connected by a common

  criminal objective or constituting part of a common scheme or plan. Counts One and Two each

  produced the same offense level. Thus, USSG § 2B1.1 was used. PSR ¶ 34

         The government’s position is that the counts should be grouped under USSG § 3D1.2(c),

  which provides as follows:

                (c) When one of the counts embodies conduct that is treated as a specific
                offense characteristic in, or other adjustment to, the guideline application to
                another of the counts.
Case 9:19-cr-80056-RKA Document 76 Entered on FLSD Docket 10/23/2019 Page 2 of 3



         Because the obstructive 1001 conviction embodies conduct that is treated as an “other

  adjustment to” the guideline calculation, namely, the two-level obstructive adjustment (PSR ¶ 39),

  the counts should be grouped under USSG § 3D1.2(c).

         The last paragraph of Application Note 5 USSG § 3D1.2 is instructive. If a bribe was given

  for the purpose of hampering a criminal investigation into a fraud – as opposed to a bribe to

  facilitate the fraud – it would constitute obstruction and under §3C1.1 would result in a 2-level

  enhancement to the offense level for the fraud. Similarly, Zhang’s offense level computation

  should be adjusted upward 2-levels under §3C1.1 for her obstructive conduct related to her

  offenses of conviction. PSR ¶ 39.

         Application Note 8 USSG § 3C1.1 also indicates that Zhang’s convictions should be

  grouped under USSG § 3D1.2(c). The commentary provides, “If the defendant is convicted both

  of an obstruction offense . . . and an underlying offense. . ., the count for the obstruction offense

  will be grouped with the count for the underlying offense under subsection (c) of § 3D1.2. . . .”

  The commentary further instructs that “[t]he offense level for that group of closely related counts

  will be the offense level for the underlying offense increased by the 2-level adjustment specified

  by this section, or the offense level for the obstruction offense, whichever is greater.”

         Although this change does not alter the calculation of the guideline range, it clarifies that

  the obstruction enhancement is applicable—not only because Zhang provided materially false

  statements to Judge Matthewman about her finances—but also because one of her grouped counts

  of conviction involved obstructive conduct of making false statements to federal officers in

  violation of 18 U.S.C. § 1001.




                                                  2
Case 9:19-cr-80056-RKA Document 76 Entered on FLSD Docket 10/23/2019 Page 3 of 3



                                        CONCLUSION

         For the foregoing reasons, the government’s objection to the Presentence Investigation

  Report should be sustained.

                                            Respectfully submitted,

                                            ARIANA FAJARDO ORSHAN
                                            UNITED STATES ATTORNEY

                                     By:    /s/Rolando Garcia
                                            ROLANDO GARCIA
                                            Assistant United States Attorney
                                            Florida Bar No. 0763012
                                            500 South Australian Avenue, Suite 400
                                            West Palm Beach, FL 33401
                                            Telephone: 561 820-8711/Fax 561 820-8777
                                            rolando.garcia@usdoj.gov




                                   Certificate of Service

        I HEREBY CERTIFY that on October 23, 2019, I electronically filed the foregoing
  document with the Clerk of the Court using CM/ECF, and mailed a copy to the defendant.


                                                    /s/ Rolando Garcia
                                                    Rolando Garcia
                                                    Assistant United States Attorney




                                              3
